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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                                   CASE NUMBER:
 CHAYA LOFFMAN, et al.
                                   PLAINTIFF(S),     2:23−cv−01832−CV−MRW

      v.

 CALIFORNIA DEPARTMENT OF EDUCATION, et
 al.                                                    NOTICE OF REASSIGNMENT
                                                     OF CASE DUE TO UNAVAILABILITY
                                 DEFENDANT(S).
                                                          OF JUDICIAL OFFICER


 To: All Counsel Appearing of Record
      The Magistrate Judge to whom the above−entitled case was previously assigned is no
 longer available.
      YOU ARE HEREBY NOTIFIED that, pursuant to directive of the Chief U. S. District
 Judge/Magistrate Judge and in accordance with the rules of this Court, the above−entitled case
 has been returned to the Clerk for direct reassignment.
      Accordingly, this case has been reassigned to:
      Hon.    Michael B. Kaufman     , Magistrate Judge for:
      any discovery and/or post−judgment matters that may be referred
     Please substitute the initials of the newly assigned Magistrate Judge so that the new case
 number will read: 2:23−cv−01832−CV(MBKx) . This is very important because
 documents are routed by the initials.



                                                         Clerk, U.S. District Court

  February 28, 2025                                      By: /s/ Rebeca D Olmos
 Date                                                       Deputy Clerk




G−74 (04/14) NOTICE OF REASSIGNMENT OF CASE DUE TO UNAVAILABILITY OF JUDICIAL OFFICER
